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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE



 UNITED STATES OF AMERICA                                                            PLAINTIFF

 VS.                                                                           NO. 3:07CR-82-R

 EDWARD HOUSE                                                                     DEFENDANT



                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

        This matter has been referred to the undersigned Magistrate Judge by the District Court

 for the purpose of conducting proceedings pursuant to Fed.R.Crim.P. 11. The appropriate

 wavier was executed by the defendant and filed in the record. The United States was represented

 by Bryan Calhoun, Assistant United States Attorney. The hearing was recorded by Dena Legg,

 Official Court Reporter. The Defendant, Edward House, by consent and with Jack Smith,

 retained counsel, appeared in open court on November 28, 2007, and entered pleas of guilty as to

 Counts 1 through 5 of the Indictment pursuant to a Rule 11(c)(1)(B). After cautioning and

 examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, The

 Court determined that the guilty pleas were knowledgeable and voluntary as to Counts 1 through

 5 of the Indictment, and that the offenses charged were supported by an independent basis in

 fact concerning each of the essential elements of such offenses. Therefore, the undersigned

 recommend’s that the pleas of guilty be accepted, and that the Defendant be adjudged guilty as

 to Counts 1 through 5 in the Indictment and have sentence imposed accordingly.
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         Sentencing is hereby scheduled for February 20, 2008 at 12:00 p.m. before the

 Honorable Thomas B. Russell, United States District Court Judge.

         The defendant shall have ten (10) days to file any objections to this recommendation

 pursuant to Fed.R.Crim.P. 72(b), or waive the opportunity to do so.

                IT IS HEREBY ORDERED that the defendant shall be released on his present
 bond.




 Copies to:
 United States Attorney
 Counsel for Defendant
 United States Marshal
 United States Probation




                                                                   November 28, 2007




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